             Case 5:24-cv-12820-JEL-APP ECF No. 7, PageID.17 Filed 11/15/24 Page 1 of 2

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        __________ District of __________

                         Daniel McGough                                       )
                          Plaintiff/Petitioner                                )
                                   v.                                         )      Civil Action No.
                  Victoria I. Shackelford, et al.,                            )
                        Defendant/Respondent                                  )


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:

         1. If incarcerated. I am being held at:                                                                       .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. If not incarcerated. If I am employed, my employer’s name and address are:




My gross pay or wages are: $                                 0.00 , and my take-home pay or wages are: $           0.00 per
 (specify pay period)                   n/a                  .

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            ’ Yes                  ✔ No
                                                                                                            ’
       (b) Rent payments, interest, or dividends                                     ’ Yes                  ✔ No
                                                                                                            ’
       (c) Pension, annuity, or life insurance payments                              ’ Yes                  ✔ No
                                                                                                            ’
       (d) Disability, or worker’s compensation payments                             ’ Yes                  ✔ No
                                                                                                            ’
       (e) Gifts, or inheritances                                                    ’ Yes                  ✔ No
                                                                                                            ’
       (f) Any other sources                                                         ✔ Yes
                                                                                     ’                      ’ No

         If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
 I have been on and off employment this year, recently unemployed again 6 weeks ago
             Case 5:24-cv-12820-JEL-APP ECF No. 7, PageID.18 Filed 11/15/24 Page 2 of 2

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)



          4. Amount of money that I have in cash or in a checking or savings account: $                                              0.00 .

         5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

 N/A




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):
 $150 - Transportaion
  $50 - Phone
 $607 - Child Support
 $300 - Food
 $130 - Medical
 $150 - Revolving credit
 $100 - Miscleanious expenses

        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:
 [S.A.M.] - is my seven year old child. I provide for their care with split legal and physical custody with the
 custodial mother.




                                                               Text owed and to whom they are payable):
          8. Any debts or financial obligations (describe the amounts

 Student Loan Debt - +$60,000.00
 Revolving Credit Card Debt - $3,000




       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:              11/14/2024
                                                                                                            Applicant’s signature

                                                                                                            Daniel McGough
                                                                                                               Printed name


         Print                         Save As...                  Add Attachment                                                   Reset
